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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

ANGELA MCJUNKIN,              )
                              )
               Plaintiff,     )                      1:20-cv-00494
                              )
     v.                       )
                              )
RADIUS GLOBAL SOLUTIONS, LLC, )
                              )
               Defendant.     )

                                         COMPLAINT


       NOW COMES the Plaintiff, ANGELA MCJUNKIN, by and through his attorneys,

SMITHMARCO, P.C., and for his complaint against the Defendant, RADIUS GLOBAL

SOLUTIONS, LLC, Plaintiff states as follows:

                               I.      PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Credit

Reporting Act (hereinafter “FCRA”), 15 U.S.C. §1681, et. seq.

                                 II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the Fair Credit Reporting Act 15 U.S.C. §1681, et. seq.,

and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                         III.    PARTIES

       4.      ANGELA MCJUNKIN, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Plainfield, County of Hendricks, State of Indiana.

       5.      At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1681a(c).

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       6.      RADIUS GLOBAL SOLUTIONS, LLC, (hereinafter, “Defendant”) is a business

entity engaged in the collection of debt within the State of Indiana. Defendant is incorporated in

the State of Indiana.

       7.      At all relevant times Defendant was a “person” as that term is defined by 15 U.S.C.

§1681a(b).

                                        IV.    ALLEGATIONS

       8.      Credit reports, as alleged in this pleading, are “consumer reports” as that term is

defined by 15 U.S.C. §1681a(d).

       9.      On or about October 26, 2017, Plaintiff filed a Voluntary Petition for Chapter 7

Bankruptcy (hereinafter, the “bankruptcy petition”) in the United States Bankruptcy Court for the

Southern District of Indiana, commencing bankruptcy case number 17-08146-JJG-7.

       10.     At the time Plaintiff filed his bankruptcy petition, she owed a debt to Toyota Motor

Credit Corporation. The debt was for a deficiency balance that remained after Defendant

repossessed a vehicle from Plaintiff.

       11.     Plaintiff scheduled the aforementioned debt in her bankruptcy petition as an

unsecured debt.

       12.     At the time Plaintiff filed her bankruptcy petition, she owed no other debt to

Defendant.

       13.     At the time Plaintiff filed her bankruptcy petition, she had no other accounts with

Defendant.

       14.     On or about February 13, 2018, the United Stated Bankruptcy Court for the

Southern District of Indiana entered an order discharging Plaintiff, thereby extinguishing her

liability for the aforementioned debt owed to Defendant.



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       15.     On or about February 15, 2018, The United Stated Bankruptcy Court for the

Southern District of Indiana served a Certificate of Notice on Defendant, which included a copy

of Plaintiff’s Order of Discharge.

       16.     At no time since February 13, 2018 has Plaintiff owed any debt to Defendant.

       17.     At no time since February 13, 2018 has Plaintiff had any accounts open with

Defendant.

       18.     At no time since February 13, 2018 has Plaintiff had any personal credit account

with Defendant.

       19.     At no time since February 13, 2018 has Plaintiff had any personal business

relationship with Defendant.

       20.     Given the facts delineated above, at no time since February 13, 2018 has Defendant

had any information in its possession to suggest that Plaintiff owed a debt to Defendant.

       21.     Given the facts delineated above, at no time since February 13, 2018 has Defendant

had any information in its possession to suggest that Plaintiff was responsible to pay a debt to

Defendant.

       22.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, despite being

cognizant of the facts as delineated above, Defendant accessed Plaintiff’s individual and personal

credit file from Trans Union LLC, a “consumer reporting agency” as that term is defined by 15

U.S.C. §1681a(f).

       23.     At no time on or prior to July 26, 2018, May 9, 2019, or August 28, 2019 did

Plaintiff consent to Defendant accessing his individual and personal credit reports.




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        24.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, despite being

cognizant of the facts as delineated above, Defendant accessed Plaintiff’s individual and personal

credit reports without a legitimate business reason to do so.

        25.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, despite being

cognizant of the facts as delineated above, Defendant accessed Plaintiff’s individual and personal

credit reports impermissibly.

        26.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, despite being

cognizant of the facts as delineated above, Defendant accessed Plaintiff’s individual and personal

credit reports without first informing Plaintiff of its intent to do so.

        27.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Defendant reviewed Plaintiff’s private

information.

        28.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Defendant impermissibly obtained

information relative to Plaintiff’s personal and individual credit accounts.

        29.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Defendant impermissibly obtained

information relative to Plaintiff’s payment history on his individual credit accounts.

        30.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Defendant impermissibly obtained

information relative to Plaintiff’s credit history and credit worthiness.




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       31.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Plaintiff’s private financial information

was published to Defendant.

       32.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, unknown employees, representative

and/or agents of Defendant viewed Plaintiff’s private financial information.

       33.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Defendant impermissibly obtained

personal information about Plaintiff, such as his current and past addresses; date of birth;

employment history; and, telephone numbers.

       34.     On or about July 26, 2018, May 9, 2019, and August 28, 2019, at the time Defendant

accessed Plaintiff’s individual and personal credit reports, Plaintiff’s personal information, as

delineated above, was published to Defendant.

       35.     Defendant’s conduct, as delineated above, is a violation of 15 U.S.C. §1681b(f)(1).

       36.     As a result of Defendant’s conduct, as delineated above, Plaintiff has suffered

actual damages in the form of financial and dignitary harm arising from the Defendant’s review of

his personal information and his credit information and an injury to his credit rating and reputation.

Furthermore, Plaintiff will continue to suffer the same harm for an indefinite time in the future, all

to Plaintiff’s great detriment and loss.

                                       V.     JURY DEMAND

       37.     Plaintiff hereby demands a trial by jury on all issues so triable.

                                    VI.     PRAYER FOR RELIEF




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       WHEREFORE, Plaintiff, ANGELA MCJUNKIN, by and through his attorneys,

respectfully prays for Judgment to be entered in favor of Plaintiff and against Defendant as

follows:

               a.     All actual compensatory damages suffered;

               b.     Statutory damages of $1,000.00 for Defendant’s violation of the FCRA.

               c.     Punitive damages;

               d.     Plaintiff’s attorneys’ fees and costs; and,

               e.     Any other relief deemed appropriate by this Honorable Court.

                                                     Respectfully submitted,
                                                     ANGELA MCJUNKIN


                                                      By:     s/ David M. Marco
                                                              Attorney for Plaintiff


   Dated: February 13, 2020


   David M. Marco
   IL Bar No. 6273315/FL Bar No. 125266
   SMITHMARCO, P.C.
   55 W. Monroe Street, Suite 1200
   Chicago, IL 60603
   Telephone: (312) 546-6539
   Facsimile: (888) 418-1277
   E-Mail:     dmarco@smithmarco.com




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